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Case No. 6:20-cv-00856




                          EXHIBIT A
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                                         Exhibit A
                   Cub Club Investment, LLC – List of Registered Copyrights

    Registration No.1      Date                                     Title

    VAu 001-152-200*    07/31/2013    iDiversicons - African American a. D001 - D088.

    VAu 001-152-192*    07/31/2013    iDiversicons - Asian a. D108 - D127.

    VAu 001-152-196*    07/31/2013    iDiversicons - Biracial a. D147 - D154.

    VAu 001-152-187*    07/31/2013    iDiversicons - Caucasian a. D128 - D146.

    VAu 001-152-204*    07/31/2013    iDiversicons - Latino / Hispanic a. D089 - D107.

    VAu 001-158-222*    07/31/2013    iDiversicons - Pictures a. D277 - D283.

    VAu 001-152-201*    07/31/2013    iDiversicons - Same Sex a. D155 - D162.

    VAu 001-152-190*    07/31/2013    iDiversicons - Smiley Faces a. D163 - D276.

                                      iDiversicons - Animals and Miscellaneous a. D295-
    VAu 001-180-096*    09/26/2013
                                      D299, D306, D307, and D311.
                                      iDiversicons - Indian a. D284-D294, D301-D305, and
    VAu 001-180-102*    09/26/2013
                                      D308-D310.
                                      iDiversicons - Showcase and Biracial a. D300 and
    VAu 001-180-095*    09/26/2013
                                      D312.

    PAu 003-747-340     10/03/2013    iDiversicons Video & Script.

    TXu 001-913-873     11/04/2013    Diversicons iOS Computer Software Program.

    VAu 001-181-371     12/12/2013    iDiversicons D324 Racing Toward Diversity.

    VAu 001-186-920     04/28/2014    iDiversicons - Additional Phase II Images.

    VAu 001-175-244     05/08/2014    [iDiversicons More Phase II Added Images]

    VAu 001-177-361     06/25/2014    Parrot iDiversicons, et al.


1
  Cub Club Investment, LLC is the owner of all of the U.S. Copyright Registration Nos. listed in
this Exhibit. For the U.S. Copyright Registration Nos. denoted with an asterisk(*) under the
“Registration Number” column, there was an inadvertent typographical error in the copyright
applications such that “Cub Club Investments, LLC” was listed as the Author and Copyright
Claimant instead of “Cub Club Investment, LLC.” Cub Club Investment, LLC, currently owns
these Registration Nos. and has owned the subject matter of these Registration Nos. since before
the filing date of the applications for registration.
                                               1
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                                     Exhibit A
               Cub Club Investment, LLC – List of Registered Copyrights

Registration No.1      Date                                Title

VAu 001-181-950     08/08/2014   iDiversicons Additional Phase II Images.

VAu 001-204-290     03/05/2015   iDiversicons - 7 Additional Images.

                                 iDiversicons iOS Keyboard Computer Software
TXu 001-950-650     03/30/2015
                                 Program.
                                 iDiversicons Android Mobile Computer Software
TXu 001-950-653     07/21/2015
                                 Program.

VAu 001-227-682     08/05/2015   1_idiversicons_disability_fishing et al.

VAu 001-231-502     08/19/2015   iDiversicons Ray Lewis Emoji.

VAu 001-254-257     05/12/2016   iDiversicons Donald Trump Emoji.

VA0 002-120-402     02/05/2018   "We Are One" Volleyball Team Motivation Illustration.
                                 iDiversicons iOS Keyboard Computer Software
                                 Program with Added New Horizontal Side-By-Side
TX0 008-491-026     05/19/2018
                                 Emoji Display in Text Messages & Email Displays
                                 Capability.
                                 iDiversicons, The Worlds First Diverse Emoji Microsoft
TX0 008-491-031     07/16/2018
                                 App for Windows 7, 8 and 10 Software Program.
VAu 001-394-527     04/06/2020   iDiversicons Corona Virus COVID19 emoji.
                                 Diversicons Washing Your Hands Coronavirus Video &
PAu 004-029-934     05/14/2020
                                 Script.
                                 iDiversicons Woman Wash Hands 1 and 6 Other
VAu 001-406-167     06/19/2020
                                 Unpublished Works.




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